        Case 9:18-cr-00017-DLC Document 10 Filed 04/06/18 Page 1 of 2



CYNDEE L. PETERSON
                                                                        FILED 

Assistant U.S. Attorney                                                   APR 062018
U.S. Attorney's Office                                                 Clerk, us Dlslnc! Gour:
P.O. Box 8329                                                            Distnc! 01 Montana
                                                                              G.r-3?~ :-:,,':.""
Missoula, MT 59807
105 E. Pine, 2d :Floor
Missoula, MT 59802
Phone: (406) 542-8851
Fax: (406) 542-1476
E-mail: Cyndee.Peterson@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT 

                     FOR THE DISTRICT OF MONTANA 

                          MISSOULA DIVISION 



 UNITED STATES OF AMERICA,                CR 18- \ -, -M-     DLC...
               Plaintiff, 	               INDICTMENT

       vs. 	                              ILLEGAL REENTRY
                                          Title 8 U.S.C. § 1326(a) and (b)(2)
                                          (Penalty: 20 years imprisonment, 250,000
 ROBERTO CRUZ SISNEROS
                                          fine, and three years supervised release)
 aka Roberto Cruz Cisneros,

               Defendant.

THE GRAND JURY CHARGES:

      On or about March 21, 2018, at Hamilton, within Ravalli County, in the State

and District of Montana, the defendant, ROBERTO CRUZ SISNEROS, aka

Roberto Cruz Cisneros, an alien and citizen of Mexico, who had been previously

deported and removed from the United States on or about February 9, 1996, and on


                                        1

               Case 9:18-cr-00017-DLC Document 10 Filed 04/06/18 Page 2 of 2



     or about May 27, 1999, was thereafter found in the United States without having

     received express consent from the Secretary of Homeland Security to reapply for

     admission to the United States, in violation of 8 U.S.C. § 1326(a) and (b )(2).
                                          Foreperson signature redacted. Original document filed under
           A TRUE BILL.                   seal.




     ~
     Z~~~ ~-
           -­
     KURTG.ALME
     United States Attorney


                    ~~~~~                                      

~EP -          E. THAGG
1J~ Criminal   Chief Assistant U.S. Attorney




                                                              Crim. Summons
                                                              Warran"         --
                                                              Ball.  ---­




                                                2

